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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                   Plaintiff,

            v.                                           Case No. 1:20-cv-03010-APM

  GOOGLE LLC,

                   Defendant.


                      DECLARATION FOR PRO HAC VICE ADMISSION

       In accordance with LCvR 83.2(c)(2) and LCrR 44.1(c)(2), I hereby declare that the answers

to the following questions are complete, true, and correct:

       1.        Full Name:

                 Alfred C. Pfeiffer, Jr.

       2.        State bar membership number:

                 California 120965

       3.        Business address, telephone, and fax numbers:

                 Latham & Watkins LLP
                 505 Montgomery Street, Suite 2000
                 San Francisco, CA 94111
                 Tel: (415) 391-0600
                 Fax: (415) 395-8095

       4.        List all state and federal courts or bar associations in which you are a member “in

good standing” to practice law:

                 California, United States Supreme Court, United States Court of Appeals for the
                 First Circuit, United States Court of Appeals for the Second Circuit, United States
                 Court of Appeals for the Fifth Circuit, United States Court of Appeals for the Eighth
                 Circuit, United States Court of Appeals for the Ninth Circuit, United States Court
                 of Appeals for the Tenth Circuit, United States Court of Appeals for the Federal
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               Circuit, United States District Court for the Central District of California, United
               States District Court for the Eastern District of California, United States District
               Court for the Northern District of California, United States District Court for the
               Southern District of California, United States District Court for the Northern
               District of Illinois (General Bar), and United States District Court for the Western
               District of Wisconsin.

       5.      Have you been denied admission, disbarred, suspended from practice, reprimanded,

denied “in good standing” status, or otherwise disciplined by any court, bar association, grievance

committee or administrative body?

               ☐ Yes ☒ No

       6.      Have any proceedings which could lead to any such disciplinary action been

instituted against you in any such bodies?

               ☐ Yes ☒ No

       7.      List the number of times you have been admitted pro hac vice into this court within

the last two years:

               None.

       8.      Although Latham & Watkins LLP does have an office within the District of

Columbia, it is not my principal office and I do not normally practice in or from the District.

       9.      Are you a member of the DC Bar?

               ☐ Yes ☒ No

       10.     Do you have a pending application for admission into the U.S. District Court for

the District of Columbia?

               ☐ Yes ☒ No

        In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to
appear as sole or lead counsel in a contested evidentiary hearing or trial on the merits further
certifies that he/she:




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                          (CHECK ALL ITEMS THAT APPLY)

  1. ☒      has previously acted as sole or lead counsel in a federal district court or the Superior
            Court of the District of Columbia or a state trial court of general jurisdiction in a
            contested jury or bench trial or other contested evidentiary hearing in which
            testimony was taken in open court and an order or other appealable judgment was
            entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

  2. ☐      has participated in a junior capacity in an entire contested jury or bench trial in a
            federal district court or the Superior Court of the District of Columbia or a state
            trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR 44.1(b)(2)]; OR

  3. ☐      has satisfactorily completed a continuing legal education trial advocacy course of
            at least 30 hours sponsored by the District of Columbia Bar or accredited by a State
            Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]

     I declare under penalty of perjury that the foregoing is true and correct.


Date: December 20, 2024

                                                   Alfred C. Pfeiffer, Jr.
                                                   CA Bar No. 120965
                                                   LATHAM & WATKINS LLP
                                                   505 Montgomery Street, Suite 2000
                                                   San Francisco, CA 94111
                                                   Tel: (415) 391-0600
                                                   Fax: (415) 395-8095
                                                   Email: al.pfeiffer@lw.com




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       CERTIFICATE OF THE CLERK OF THE SUPREME COURT

                                                 OFTHE.

                              STATE OF CALIFORNIA

                        ALFRED CARROLL PFEIFFER JR


I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby ALFRED CARROLL PFEIFFER JR, #120965 was on the 10th day of
December 1985, duly admitted to practice as an attorney and counselor at law in all the
courts of this state, and is now listed on the Roll ofAttorneys as a member of the bar ofthis
state in good standing.



                                                  Witness my hand and the seal of the court
                                                  on the 13 th day of December 2024.




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